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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                  4:10CR3129
                                         )
             v.                          )
                                         )
STELLA M. LEVEA and                      )      MEMORANDUM AND ORDER
JAMES P. MASAT,                          )
                                         )
                   Defendants.           )
                                         )


       Stella M. Levea (Levea) and James P. Masat (Masat) have filed Motions to
Vacate under 28 U.S.C. § 2255. After initial review of the nearly identical motions,1
I deny and dismiss them with prejudice. Briefly, my reasons for this decision are set
forth below.

                                  BACKGROUND

      Together with a third defendant (Kenneth Mottin) who cooperated with the
government, Levea and Masat were charged with numerous counts of fraudulent



      1
       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United
States District Courts provides:

              The judge who receives the motion must promptly examine it. If
      it plainly appears from the motion, any attached exhibits, and the record
      of prior proceedings that the moving party is not entitled to relief, the
      judge must dismiss the motion and direct the clerk to notify the moving
      party. If the motion is not dismissed, the judge must order the United
      States attorney to file an answer, motion, or other response within a fixed
      time, or to take other action the judge may order.
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criminal conduct regarding First Americans Insurance Services (FAIS). FAIS sold
insurance to Native American tribes.

       To make a long and complex story short, Levea and Masat each entered guilty
pleas to mail fraud. The maximum prison sentence authorized by law was 20 years
in prison.

       The fraud involved FAIS borrowing money from private individuals and
securing the borrowed money with annuities to be purchased from the proceeds of the
loans. FAIS was unable to repay the loans. It was then discovered that an insufficient
number of annuities had been purchased thus causing massive losses. FAIS went into
bankruptcy and was liquidated. Ultimately, and in addition to prison sentences of 97
months each,2 I ordered both defendants to pay restitution exceeding $16 million. It
is highly unlikely that the restitution obligation will ever be satisfied.

       With the support of Gary Shovlain, one of the victims, Levea and Masat sought
a probationary sentence so that the FAIS business model of selling insurance to Indian
tribes could be used again by Levea and Masat. It was proposed that they would work
under the direction of Shovlain, and in that way generate money to provide restitution
to the victims.3 At a sentencing hearing where evidence was taken, and as noted
above, I rejected the request for probationary sentences and entered judgment against
each defendant.4 No appeal was taken.

       2
       Following the granting of the government’s motion for departure due to
substantial assistance, I sentenced Mottin to 60 months in prison and required that he
make restitution to the same extent as Levea and Massat.
       3
           In addition to recouping his losses, Shovlain was to receive a portion of the
profits.
       4
        On “general deterrence” and “just punishment” grounds, I rejected the requests
for probation. That was true, I said at the time, even assuming the doubtful proposition
that probationary sentences would result in greater restitution.

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       At the sentencing hearing, the government provided several victim impact
statements. Levea and Masat objected to the statements because they explicitly
related to Mottin, who was the FAIS employee who dealt directly with most of the
victims, rather than Levea and Masat, the owners and operators of FAIS. Moreover,
not all victims were represented in the statements relied upon by the government.
According to Levea and Masat, since the statements did not cover all the victims and
since the statements related to Mottin, any victim’s request that Mottin should go to
prison had no bearing on whether Levea and Masat should be incarcerated. I
overruled what was in essence a relevancy objection.

      After the sentencing hearing and entry of judgment, Shovlain did his own
survey. Based on that survey, he now asserts, in support of the § 2255 motions filed
by the defendants, that out of 94 responses he received, 84 victims requested a
sentence that did not involve a prison sentence for Levea and Masat in the hopes that
the victims would be repaid if Levea, Masat and Shovlain could carry out their
proposed business venture.

      Each of the plea agreements that were signed by Levea and Masat contained
broad appeal and postconviction waivers. That is:

      Except as provided in Section I above, (if this is a conditional guilty
      plea) the defendant hereby knowingly and expressly waives any and all
      rights to appeal the defendant’s conviction and sentence, including any
      restitution order in this case, including a waiver of all motions, defenses,
      and objections which the defendant could assert to the charges or to the
      Court’s entry of Judgment against the defendant, and including review
      pursuant to 18 U.S.C. § 3742 of any sentence imposed.

             The defendant further knowingly and expressly waives any and all
      rights to contest the defendant’s conviction and sentence in any post-
      conviction proceedings, including any proceedings under 28 U.S.C. §
      2255, except:


                                           3
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             (a) The right to timely challenge the defendant’s conviction and
      the sentence of the Court should the Eighth Circuit Court of Appeals or
      the United States Supreme Court later find that the charge to which the
      defendant is agreeing to plead guilty fails to state a crime.

             (b) The right to seek post conviction relief based on ineffective
      assistance of counsel, or prosecutorial misconduct, if the grounds for
      such claim could not be known by the defendant at the time the
      Defendant enters the guilty plea contemplated by this plea agreement.

            If defendant breaches this plea agreement, at any time, in any way,
      including, but not limited to, appealing or collaterally attacking the
      conviction or sentence, the United States may prosecute defendant for
      any counts, including those with mandatory minimum sentences,
      dismissed or not charged pursuant to this plea agreement. Additionally,
      the United States may use any factual admissions made by defendant
      pursuant to this plea agreement in any such prosecution.

Filing no. 58 at pp. 5-6; filing no. 59 at pp. 5-6.

      When I took their pleas, I closely questioned both defendants as to these
waivers. Clearly, the waivers were knowing, intelligent and voluntary.

                                      ANALYSIS

      Levea and Masat contend that I erred at sentencing when I received into
evidence the victim impact statements obtained by the government because not all
victims were included and the statements that were received related primarily to
Mottin rather than Levea and Massat. They buttress this point by emphasizing the
survey conducted by Shovlain after judgment was entered. For two reasons, Levea




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and Masat’s invocation of § 2255 is procedurally erroneous and warrants dismissal
with prejudice without the need for me to get at the merits.5

       First, run of the mill sentencing errors (and, shorn of hyperbole, that is what is
claimed here) must be raised on direct appeal rather than by collateral attack. See,
e.g., Sun Bear v. United States, 644 F.3d 700, 704-705 (8th Cir. 2011) (en banc) (an
error of law does not provide a basis for collateral attack on a final sentence through
a motion to vacate unless the claimed error constituted a fundamental defect which
inherently results in a complete miscarriage of justice); United States v. Ward, 55 F.3d
412, 413 (8th Cir.1995) (“Collateral proceedings under 28 U.S.C. § 2255 cannot be
made to do service for an appeal.”). Levea and Masat have not come close to
establishing cause and prejudice sufficient to excuse their failure to raise this issue on
direct appeal.

       Second, and ignoring for the sake of argument the failure to appeal, Levea and
Masat have waived their right to collaterally attack the sentences via § 2255. Since
the waivers were knowing, intelligent and voluntary and since my sentence was within
the statutory range, Levea and Masat cannot escape the collateral-attack waivers. See,
e.g., Ackerland v. United States, 633 F.3d 698, 702 (8th Cir. 2011) (illegal sentence
exception to general enforceability of appeal waiver did not apply to permit defendant
to collaterally attack sentence within the statutory range).

      IT IS ORDERED that:




      5
        Had I addressed the merits, the result in all probability would have been the
same. I note also that according to the plain terms of the last paragraph of each of the
waivers, Levea and Masat may have breached their plea agreements by filing these
motions thus exposing them to prosecution on the dismissed counts. I need not reach
that issue either.

                                            5
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         1.        The Motion for Leave to File Exhibits Under Seal (filing no. 150) is
                   granted in part and denied in part. The exhibits shall be restricted but not
                   sealed.

         2.        The Motions to Vacate under 28 U.S.C. § 2255 (filing no. 147; filing no.
                   152) are denied and dismissed with prejudice.

         3.        No certificate appealability as to either defendant will be issued by the
                   undersigned.

         4.        A separate judgment for each defendant will be entered.

         DATED this 10th day of February, 2014.

                                                          BY THE COURT:

                                                          Richard G. Kopf
                                                          Senior United States District Judge




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